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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )
                                               )
       vs.                                     )               Case Number: CR 05 1849 JH
                                               )
DENNIS WILSON, et al.,                         )
                                               )
               Defendants.                     )



         MOTION AND SUPPORTING MEMORANDUM FOR DISCOVERY
       REGARDING PRIOR CRIMINAL ACTS BY GOVERNMENT WITNESSES
             AND INFORMATION NECESSARY TO EFFECTIVELY
               CROSS-EXAMINE GOVERNMENT WITNESSES

       The Defendant, Dennis Wilson, by his attorney, Robert J. Gorence, Esq. of Gorence &

Oliveros, P.C., moves that this Court order the government to disclose to defense counsel the

following material in government records:

       1.      Evidence of prior criminal and bad acts by government witnesses and/or acts that

undermine the credibility of government witnesses.

       2.      All material tending to impeach government witnesses. This material includes,

but is not limited to, the following:

               a.      Any and all formal or informal promises by the government to reward a

                       witness, including money, leniency in criminal prosecutions, assistance in

                       forfeiture proceedings, living expenses, medical treatment, transportation

                       expenses, and placements in any witness protection program; including

                       but not limited to all of the following forms:

                                1.      Copies of all debriefing reports;

                                2.      Copies of case initiation reports;

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                 3.       Copies of statements signed by any informant/witness;

                 4.       Any administrative correspondence pertaining to the

                          informant/witness, including documentation of any

                          representations made on his behalf or any other

                          nonmonetary considerations furnished;

                 5.       Any deactivation report or declaration of an

                        unsatisfactory informant.

    b.    Any and all threats against a government witness for failure to testify,

          including but not limited to whether the witness was a target of a criminal

          investigation and threatened with prosecution, even if the witness has not

          been charged.

          All evidence reflecting bias of any government witness against the

          defendant motivated by any reason.

    c.    All psychological records or records relating to the mental capacity

          of any government witness.

    e.    All records of drug treatment of any government witness.

    f.    All impeachment evidence contained in jail, prison, military and

          Veteran Administration records of any government witness.

    g.    Any and all impeachment information contained in records of any

          government witness from any welfare agency, food stamp offices, housing

          authority, child support divisions or any other social service agencies.

    h.    Any and all impeachment information contained in records of any

          government witness from the Internal Revenue Service or the State of




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                      New Mexico Taxation and Revenue Department, including all 1040s or

                      1099s.

               i.     Any and all impeachment information contained in employment

                      applications, records, and personnel files of any government witness.

               j.     Any and all impeachment information contained in any divorce or custody

                      proceedings in which any government witness was involved.

               k.     Any and all records relating to any name change proceedings instituted by

                      any government witness.

       The list of such witnesses includes, but is not limited to, witnesses identified in discovery

as CW1 through CW8.

       The discovery order entered in this case requires production of the material which is here

requested, as does Rule 16 and the cases cited below. Nonetheless, much of it has not been

located in the voluminous documents which have been produced and reviewed by undersigned

counsel.



                                          ARGUMENT

        It appears from the discovery which has been produced that there is extensive

exculpatory evidence contained in government files regarding prior bad acts committed by the

listed witnesses that would severely undermine their credibility. Therefore, Mr. Wilson requests

this Court to order the government to make reasonable inquiry in related law enforcement and

other government files for exculpatory and impeachment information.




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       A.      The Government Must Disclose Evidence Favorable to the Accused.


       In the landmark case of Brady v. Maryland, 373 U.S. 83, 87 (1963), the United States

Supreme Court held that “suppression by the prosecution of evidence favorable to an accused

upon request violates due process where the evidence is material either to guilt or to punishment,

irrespective of the good faith or bad faith of the prosecution.” These broad duties of disclosure

are rooted in the Due Process Clauses of the Fifth and Fourteenth Amendments to the

Constitution. Id. at 86; Smith v. Secretary of New Mexico Dept. of Corrections, 50 F.3d 801,

822 (10th Cir. 1995). Failure by the government to disclose material exculpatory evidence

violates a defendant’s constitutional due process right to a fair trial. Smith, 50 F.3d at 823.

       In order to ensure that the defendant’s constitutional rights are protected, the government

prosecutor has been vested with an ongoing and active duty to avoid

“suppression”1 of any exculpatory evidence. See Smith, 50 F.3d at 824. This obligation by the

prosecutor is not limited to the information contained in his or her file. Rather, the prosecutor’s

obligation to the defendant includes “the duty to learn of any favorable evidence known to the

others acting on the government’s behalf in the case.” Kyles v. Whitley, 514 U.S. 419, 437

(1995). Moreover, the prosecutor’s obligation to turn over exculpatory evidence is not

dependent in any fashion on the nature of the defendant’s request, because the obligation “stands

independent of the defendant’s knowledge.” Banks v. Reynolds, 54 F.3d 1508, 1517 (10th Cir.

1995). Thus, the prosecutor’s duty under Brady arises whether or not the defendant specifically


       1
        The term “suppression” is actually somewhat of a misnomer in the context of a Brady violation.
While the term “suppression” naturally seems to connote some intentional act by the prosecutor to hide
evidence from the defense, this clearly is not required because a Brady violation does not depend on a
showing of bad faith of the prosecutor. Smith, 50 F.3d at 824. A more appropriate term would actually
be “non-disclosure” rather than “suppression.” See Victor Bass, Comment, Brady v. Maryland and the
Prosecutor’s Duty to Disclose, 40 U. Chi. L. Rev. 112, 121 (1972) (arguing in favor of the language of
“non-disclosure” instead of “suppression”). Thus, the term “suppression” as used in this memorandum is
synonymous with the term “non-disclosure.”


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requests the favorable evidence. United States v. Agurs, 427 U.S. 97, 107-11 (1976) (holding

that the prosecutor’s constitutional duty to disclose favorable evidence is not limited to situations

where the defendant has requested the favorable evidence). This principle confirms that this

motion, despite its filing in close proximity to the trial date, is by no means the first notice the

prosecution has of its obligation. The duty to locate documents in government files about its

witnesses is well known to the experienced prosecutor in this case.

        Importantly, “Brady and its progeny are grounded in notions of fundamental fairness and

they embody a practical recognition of the imbalances inherent in our adversarial system of

criminal justice.” Smith, 50 F.3d at 823; see also United States v. Abello-Silva, 948 F.2d 1168,

1180 (10th Cir. 1991) (“The government’s hand is stacked with cards the defense lacks.”). Brady

is an attempt to compensate for these imbalances by departing from the purely adversarial model

in order to promote and enhance the search for truth. Id.; United States v. Bagley, 473 U.S. 667,

675 n.6 (1985). Thus, the Tenth Circuit has emphasized that the prosecutor’s duty is not to win

the case, but rather to ensure that justice is done. Smith, 50 F.3d at 823 (internal citations

omitted). Justice can only be truly done in this case if the prosecution discloses to counsel for

Mr. Wilson prior to trial all potentially exculpatory evidence accessible to the prosecution.

        Since this request by the defendant is made prior to trial, the burden is not on the defense

to make an initial showing of materiality. Rather, the demand for production of the records is

sufficient.

      B.     Defendant Wilson is Entitled to Discovery of Any and All Impeachment
Information of Government Witnesses.


        Additionally, defense counsel specifically requests, pursuant to United States v. Bagley,

473 U.S. 667 (1985), any and all material that tends to impeach a government witness. The

government’s obligation to disclose favorable evidence under Brady clearly extends to any and



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all information that could be used to impeach government witnesses. Kyles, 514 U.S. at 433

(recognizing that the Court in Bagley disavowed any difference between exculpatory and

impeachment evidence for Brady purposes); Abello-Silva, 948 F.2d at 1179 (“Impeachment

evidence merits the same constitutional treatment as exculpatory evidence.”). As Justice

Blackmun said in Bagley, if defense counsel uses impeachment evidence effectively, “it may

make the difference between conviction and acquittal.” 473 U.S. at 676. Therefore,

“impeachment is integral to a defendant’s constitutional right to cross-examination, [and] there

exists no pat distinction between impeachment and exculpatory evidence under Brady.” Smith,

50 F.3d at 825 (internal citations omitted).

       Specifically, the Federal Rules of Evidence have recognized that generally a witness’s

prior criminal and otherwise bad acts reflect on that witness’s credibility and thus are relevant.

See Fed. R. of Evid. 609 (providing for impeachment of witnesses by evidence of a conviction of

a crime). The admissibility of this evidence is admissible at trial because of the general

recognition by courts that this type of evidence is often probative of the witness’s bias or lack of

credibility. See e.g. United States v. Abel, 469 U.S. 45 (1984). When the criminal record of a

government witness bears on his credibility, then that record must be turned over to the defense

pursuant to the prosecution’s Brady obligation. United States v. Perdomo, 929 F.2d 967, 970-73

(holding that the criminal record of the key prosecution witness was exculpatory and material

and thus disclosure was required under Brady); United States v. Strifler, 851 F.2d 1197, 1202

(9th Cir. 1988) (“Normally, the criminal record of a witness is available to the prosecutor and, as

it bears on the witness’s credibility, must be turned over to the defendant.”). The criminal record

of a government witness is fertile ground for impeaching the credibility of that witness.

       Additionally, Mr. Wilson specifically requests, pursuant to Giglio v. United States, 405

U.S. 150 (1972), that all government concessions, favors, promises of leniency, or threats of



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prosecution against government witnesses be disclosed, and copies of related documentation

provided. Evidence concerning government promises of leniency or threats of prosecution

constitute valuable impeachment evidence which must be disclosed to the defendant pre-trial.

Giglio, 405 U.S. at 154 (holding that the Brady doctrine applies to material evidence that would

impeach a government witness whose “reliability may well be determinative of guilt or

innocence”); United States v. Harris, 462 F.2d 1033, 1035 (10th Cir. 1972) (ordering a new trial

based on the government’s failure to disclose a promise of leniency to a government witness).

       The government has brought this case based on the statements of witnesses who may

have had a business or other close relationship with Mr. Wilson. Presumably, these witnesses

are now testifying for the government in exchange for various government concessions or to

avoid prosecution. As a result, the government witnesses against Mr. Wilson have a strong

motivation to cooperate with the prosecutor in proffering testimony against the defendant, which

is relevant as evidence of a motive to lie and implicate Mr. Wilson. As such, Wilson is entitled

to discovery of any government offers, favors, promises of leniency, or threats of prosecution

tendered to witnesses in exchange for their testimony. Since these enticements to testify

undermine the credibility of the government witnesses and provide a bias or motivation to testify

favorably for the prosecution and against Mr. Wilson.



      C.    Defendant Wilson is Entitled to All Information In Government Files or
Otherwise Accessible to the Prosecutor that Tends to Undermine the Credibility of Any
Government Witness.

       Furthermore, the defendant specifically requests, pursuant to Kyles v. Whitley, 514 U.S.

419 (1995), that the U.S. Attorney’s Office undertake a reasonable and comprehensive review of

government files for material tending to impeach government witnesses. These files may

include, but are not limited to, psychological records, drug treatment records, records from social



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service agencies, state and federal tax records, employment records, records from divorce or

custody proceedings, jail and prison records, pre-sentence reports, and records relating to any

name change proceedings.

       In Kyles, the Supreme Court imposed an obligation on the government, even in the

absence of a defense request, to actively search for exculpatory evidence and disclose it to the

defense. 514 U.S. at 437-38. When the defendant makes a specific request and draws a road-

map for the government to find exculpatory evidence, clearly the government must look for it

and disclose it if found.

                                        CONCLUSION

       For the foregoing reasons, the Court should order the government to furnish the

particulars requested above.

                                                       Respectfully submitted,


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      I hereby certify that a true and correct copy of the foregoing was faxed on this 23rd day of
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